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Testa,

From:                         CMECF@ctd.uscourts.gov
Sent:                         Tuesday, July 14, 2020 3:38 PM
To:                           CM ECF@ctd.uscourts.gov
Subject:                      Activity in Case 3:19-cv-00413-VLB Crispin v. Reischerl et al Order


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this e-mail because the mail box is unattended.
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                                              U.S. District Court

                                           District of Connecticut

Notice of Electronic Filing

The following transaction was entered on 7/14/2020 at 3:37 PM EDT and filed on 7/14/2020
Case Name:           Crispin v. Reischerl et al
Case Number•         3 :19-cv-00413-VLB
Filer:
Document Number: 112(No document attached)

Docket Text:
ORDER DISMISSING CASE as settled. Counsel for the Defendants has reported that this case
has settled. Rather than continue to keep the case open on the docket,. the Clerk is directed to
terminate this file without prejudice to reopening on or before 08/04/2020. If the parties wish to
file a stipulation of dismissal for approval by the Court or simply for inclusion in the Court's
file, they may do so on or before 08/04/2020. The date set forth in this order may be extended
for good cause in accordance with Local Rule 7(b). Signed by Judge Vanessa L. Bryant on
07/14/2020. (Diamond, Matthew)


3:19-cv-00413-VLB Notice has been electronically mailed to:

Jacob McChesney jacob.mcchesney@ct.gov, jenny.vidaurre@ct.gov

3:19-cv-00413-VLB Notice has been delivered by other means to:

Jossean Crispin
#339978
CHESHIRE CORRECTIONAL INSTITUTION
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               Case 3:19-cv-00413-VLB Document 115 Filed 03/15/21 Page 25 of 31


Testa,

From:                          CMECF@ctd.uscourts.gov
Sent:                          Tuesday, July 14, 2020 3:14 PM
To:                            CMECF@ctd.uscourts.FC
Subject:                       Activity in Case 3:19-cv-00413-VLB Crispin v. Reischerl et al Order on Motion to Appoint
                               Counsel


This is an automatic e-mail message generated by the CMUECF system. Please DO NOT RESPOND to
this e-mail because the mail box is unattended.
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all documents filed electronically, if receipt is required by law or directed by the filer. PACER access fees
apply to all other users. To avoid later charges, download a copy of each document during this first
viewing. However, if the referenced document is a transcript, the free copy and 30 page limit do not
apply.

                                              U.S. District Court               r\lacelkidi
                                            District of Connecticut                 ov\2 (61a-9
Notice of Electronic Filing

The following transaction was entered on 7/14/2020 at 3:13 PM EDT and filed on 7/14/2020
Case Name:           Crispin v. Reischerl et al
Case Number:         3:19-cv-00413-VLB
Filer:
Document Number: 111(No document attached)

Docket Text:
ORDER granting in part and denying in part [86] Plaintiffs Motion to Appoint Counsel. Plaintiff
continues to receive some legal assistance from ILAP, as evidenced by exhibits submitted
with his motion for reconsideration. Moreover, Plaintiff has not established that his claim is
likely to be of substance and that the factors addressed in the Court's earlier rulings denying
his motions for appointment of counsel have changed. See Hodge tr. Police Officers, 802 F.2d
58, 60 (2d Cir. 1986). However, the Court will appoint pro bono counsel solely for the purpose
of representing(plaintiff at a settlement conference)The appointment of counsel shall extend
no further than this limited assignment. See Local Rule 83.10(c)(3)("A limited-purpose
appointment will be limited to the purpose identified in the order of appointment and will not
extend to any other part of the litigation process."). The Clerk is directed to assign pro bono
counsel for this limited purpose pursuant to Local Rule 83.10(d). Signed by Judge Vanessa L.
Bryant on 07/14/2020. (Diamond, Matthew)


3:19-cv-00413-VLB Notice has been electronically mailed to:

Jacob McChesney jacob.mcchesney@ct.gov, jenny.vidaurre@ct.gov

3:19-cv-00413-VLB Notice has been delivered by other means to:
Case 3:19-cv-00413-VLB Document 115 Filed 03/15/21 Page 26 of 31




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                              UNIT D STATES DISTRICT COURT
                                DI RICT OF CONNECTICUT                      U1/4---)   \.1%


CRISPIN                                                3:19-CV-00413 (VLB)




REISCHERL, HT AL.                                      JULY 14, 2020

               GENERAL RELEA E AND SETTLEMENT AGREEMENT

       The Plaintiff, Jossean Crisp a (inmate #339978), and the State of Connecticut, hereby agree

as follows:

I. The Plaintiff will stipulate to    smissal of this matter with prejudice, and without an award of

   costs or Ceti to either party, pu suant to Federal Rule of Civil Procedure 41(a)(I)(A)(ii).

2. Within thirily (30) days of th completed execution of all necessary forms, including this

   General Release and Settlem nt Agreement, a W-9 (to be completed by Plaintiff), and

   dismissal fdrms for the above aptioned case, the State of Connecticut will pay to Jossean

   Crispin the total sum of one        ousand dollars and zero cents ($1,000.00) in full and final

   settlemenacif this and any and     I other matters between the Plaintiff and Nick Rodriguez, Craig
              1
   Purdy, Eliztbeth Tugie, Carle e Davis, Keith Lizon, Gregorio Robles, Brian Jackson, Scott

   Semple, and Shannon Dow, in oth their individual and official capacities (hereinafter referred

   to as the "Represented Defend nts").

3. Prior to thn laintiff s release    om incarceration related to his current period or incarceration,

   the State of;Connecticut also a tees to the following:

       a) Wittin thirty (30) da        of the full execution of this agreement, the Department of

              Correction will assign health services discharge planner to work with the Plaintiff for
    Case 3:19-cv-00413-VLB Document 115 Filed 03/15/21 Page 28 of 31




          the purpose of develop g a discharge plan, and the assigned discharge planner will

          begin the discharge pla ning process for the plaintiff.

       b) With n thirty (30) day of the full execution of this agreement, the Department of

          Correction will add the laintiffs name to the Multi-Agency Re-entry Advisory Group

          (MARAG) list.

       c) As pertains to conditio s 3(a) and 3(b), the Department of Correction can make no

          guarantee regarding the Plaintiff's exact discharge plan or the availability of resources

           fort uch plan. As su h planning requires coordination with other agencies, the

          Dep rtrnent of Correcti n has no control whatsoever regarding how such other agencies

          US     eir resources.

4. By executing this General Rel ase and Settlement Agreement, the Plaintiff hereby agrees to

   release and forever discharge he Represented Defendants, and their heirs, successors, and

   assignees, from all actions       uses of action, suits, claims, controversies, damages, and

   demands of every nature and ki d, including costs, attorneys' fees, and monetary and equitable

   relief, which the Plaintiff and his heirs, successors, and assignees ever had, now have, or

   hereafter can, shall, or may      ave for, upon, or by reason of any matter, cause, or thing

   whatsoever from the beginnin of the world until and including the date Plaintiff signs this

   General Release and Settleme      Agreement, including but not limited to acts arising out of, or

   in any way elated to the inci ents or circumstances which formed the basis for the above-

   captioned 4wsuit, including b t not limited to such actions as may have been or in the future

   may be brinight in the federal ourts, the courts of the State of Connecticut, the courts of any

   other stater& jurisdiction, any    to or federal administrative agency, or before the Connecticut

   Office oflte Claims Commis ioner pursuant to Connecticut General Statute § 4-141 et seq.
    Case 3:19-cv-00413-VLB Document 115 Filed 03/15/21 Page 29 of 31




   This General Release and Settl ment Agreement as to the Represented Defendants includes,

   but is not limited to, all causes f action alleging violations of the Plaintiff's state and federal

   constitutional rights, his rights rising under the statutes and laws of the linnet! States, under

   the statutes and laws of the Stn at' Connecticut, under the statutes and laws °limy other state

   or jurisdiction, and causes of a tion available under the common law.

5. The parties Expressly state that nothing in this Agreement shall be construed as an admission

   of wrongdoing of any kind by a y Defendant, the State of Connecticut, its employees, officers,

   officials, ag nts, or representat yes. Rather, this General Release and Settlement Agreement

   represents a compromise of dis uted issues of fact and law.

6. This General Release and Se dement Agreement may be executed in counterparts, each of
                                                                                !
   which shall be deemed an origi al. This Agreement shall be binding upon the pa:ties and their

   respective heirs, successors, an assigns.
                                                                                i
7. The language used in this Gen- al Release and Settlement Agreement will be deemed to be the

   language chosen by the partie to express their mutual intent and no rule of construction will

   be applied against any party.     e term "including" as used in this Agreement is used to list

   items by w y of example and shall not be deemed to constitute a limitation of any term or

   provision contained herein. Th s General Release and Settlement Agreement shall be deemed

   to have been made in the S to of Connecticut, and shall be construed and enforced in

   accordance with, and the valid y and performance hereof shall be governed by, the laws of the

   State of Connecticut, without    ference to principles of conflict of laws thereof. This General

   Release and Settlement Agree ent shall not be construed more strictly against one party than

   against the other by virtue of t e fact that the General Release and Settlement Agreement may

   have bee rafted or prepare by counsel for one of the parties, it being recognized that all
    Case 3:19-cv-00413-VLB Document 115 Filed 03/15/21 Page 30 of 31




   parties to tit    General Release and Settlement Agreement have contributed substantially and

   materially t4 its preparation.
              j i
8. Nothing inithis General Releas and Settlement Agreement shall be construed as waiver of the

   State of Cb necticut's immun tics, including residual and sovereign immunities under the
              I
   Eleventh Athendment and Con ecticut common law.
                ri
9. The State 01Connecticut will of seek to recover costs of incarceration under General Statute

   § 18-85a fr4 the one thous d dollars ($1,000.00) in proceeds paid under this Settlement

   Agreement! However, this ag ement is limited to the State of Connecticut forgoing its right

   to collect casts of incarceratio under General Statute § I8-85a from the specific funds paid as

   a result o        is Settlement Ag cement. Nothing in this agreement shall be construed as the

   State of Connecticut waiving ossean Crispin's debts. Nothing in this agreement shall be

   construed a9 the State of Conn cticut waiving its rights to collect debts owed by Plaintiff from

   funds or assets other than the     e thousand dollars ($1,000.00) in settlement proceeds.

10. If any port* of this General     elease and Settlement Agreement is held invalidior inoperative,

   the other portions shall be dce ed valid and operative, and so far as reasonable and possible,

   effect shall de given to the in    t manifested by the portion held invalid or inoperative.

11. This General Release and Se lement Agreement is the full and complete agreement of the

   parties and supersedes and r places any prior agreements, whether oral or written. Any

   amendments or modifications f this General Release and Settlement Agreement, including to

   this sentence. must be in writi g and executed by all parties, or by the Plaintiff and the State

   of Conneeticut, to be effectiv

12. All signatories below hereby      present and confirm that they have the legal authority to enter

   into this G heral Release and ettlement Agreement.
               Case 3:19-cv-00413-VLB Document 115 Filed 03/15/21 Page 31 of 31




                 IN WI      ESS WHEREO              the parties hereto to have executed this General Release and

          Settlement Ag_    ment effective Ju           2020.



          PLAINTIFF                                                STATE OF CONNECTICUT
          Jossean Crispi3
                                                                  WILLIAM TONG
                                                                  ATTORNEY GENERAL

                Cir.\
               barturi            July 2 20                                I.
          Jossean Crisp                                           Jacob McChesney
          Inmate H 33                                             Assistant Attorney General
          Cheshire Corra tonal Institution                        110 Sherman Street
          900 Highland enue                                       Hartford, CT 06105
          Cheshire, CT 410                                        Tel (860) 808-5450
                                                                  Fax: (860) 808-5591

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